         Case5:15-cr-00226-EJD Document65 Filed08/26/15 Page1 of 2



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 5
     Counsel for Defendant, DOUGLAS STORMS YORK
 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                             SAN JOSE DIVISION

11

12   UNITED STATES OF AMERICA,             )               No. CR 15-00226 EJD
                                           )
13                     Plaintiff,          )               DEFENDANT DOUGLAS STORMS
                                           )               YORK’S AMENDED PROPOSED JURY
14                                         )               INSTRUCTION REGARDING COUNT
     vs.                                   )               TWO
15                                         )
                                           )
16                                         )
     DOUGLAS STORMS YORK,                  )               Trial Date: August 25, 2015
17                                         )
                       Defendant.          )
18   _____________________________________ )               Honorable Edward J. Davila

19

20           Defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham

21   Archer, submits this amended proposed jury instruction regarding count two for the Court’s

22   consideration.

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26
     Def.’s Amended Proposed Jury Instruction Re:
     Count Two
     CR 15-00226 EJD                                   1
         Case5:15-cr-00226-EJD Document65 Filed08/26/15 Page2 of 2



 1           Defendant York’s Disputed Instruction Re: Count Two - Elements of Offense

 2

 3   Mr. York is charged in Count Two of the Indictment with Telecommunications Device Harassment,

 4   in violation of Title 47, section 223(a)(1)(C) of the United States Code.

 5

 6   In order for the Mr. York to be found guilty of this charge, the government must prove each of the

 7   following elements beyond a reasonable doubt:

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 9   First, On or about February 23, 2012;

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11   Second, Mr. York used a telecommunications device;

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13   Third, Mr. York failed to disclose his identity;

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15   Fourth, Mr. York acted with the intent to abuse, threaten and harass a specific person; and

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17   Fifth, the communication was an interstate or foreign communication.

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19   47 U.S.C. § 223(a)(1)(C)

20

21   Dated: August 26, 2015                                 Respectfully submitted,

22
                                                            STEVEN G. KALAR
23                                                          Federal Public Defender

24
                                                                 s/
25                                                          GRAHAM ARCHER
                                                            Assistant Federal Public Defender
26
     Def.’s Amended Proposed Jury Instruction Re:
     Count Two
     CR 15-00226 EJD                                    2
